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Exhibit 71
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Steven Ganz

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE CATHODE RAY TUBE (CRT) Master File No.
ANTITRUST LITIGATION 07-5944 SC

MDL NO. 1917

VIDEOTAPED DEPOSITION OF STEVEN GANZ
April 4, 2012

9:04 a.m.

One Market, Spear Street Tower, 28th Floor

San Francisco, California

REPORTED BY:

Ingrid Skorebohaty

CSR No. 11669

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A. Yes.

Q. Where did you shop around?

A. Through the Sunday ads and probably Amazon.
QO. And what features were important to you when

you were shopping around for this Dell computer system?

A. Speed of the CPU, RAM, hard-drive space,
whether it had a video sound card.

Q. What size was the monitor for the Dell
computer system?

A. 17-inch.

Q. Do you know who manufactured the CRT that you

believe was inside the Dell computer monitor?

A. I do not.

Q. How about for the HP computer monitor?

A. I do not.

Q. Were you happy with your Dell computer system

purchase?

A. Yes.

Q. It performed according to what you believed it
should have performed?

A. Yes.

Q. And that includes -- your answer includes the
monitor?

A. Yes.

Q. Do you believe you paid a fair price for the

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1 A. Yes.

2 Q. Do you know if the Philips television you

3 purchased contained a CRT?

4 A. I assume so by its shape and size.

5 Q. Did you open it to confirm that there was a

6 CRT inside of it?

7 A. No

8 Q. Did you review any technical specifications

9 that indicate there is a CRT inside of it?

10 A. No

11 Q. Do you know who would have manufactured the

12 CRT that you believe is inside your TV?
13 A. I do not know.
14 Q. Do you know if Hitachi manufactured the CRT

15 you believe is inside your TV?

16 A. I do not know.

17 |. Q. How about Samsung? |

18 A. I don't know.

19 Q. Any other defendant in this case?

20 A. I am not sure.

21 Q. Are you aware that there are other

22 manufacturers of CRTs besides the companies that are

23 named as defendants in this case?
24 A. Yes.
25 Q. Is it possible that one of those other

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QO. A different television?
A. Different. We have two in our house.
Q. And was the television that you replaced a

television containing a CRT?

A. I assume so.

QO. Do you know what brand that one was?

A. I do not. I don't even remember the TV at
all.

Q. The Toshiba television that you purchased,

does it contain a CRT?

A. Again, I assume so, by shape and size.

Q. But you didn't open it up to confirm?

A. I did not.

Q. Did you review any technical specifications

that indicated it contained a CRT?
A. No.
Q. Do you know who manufactured the CRT that you.
believe is inside the Toshiba television?
A. No.
(Exhibit 73 marked)
MS. CHIU: Q. The court reporter has just

handed you a document that has been marked Exhibit

No. 73. Do you recognize this document?
A. I do.
QO. And for the record, I'll just state that this

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A. I do not.

Q. Do you believe that it was a defendant that
manufactured the CRT that you believe is inside this
Toshiba television?

A. I assume so, but I do not know.

Q. And you're aware that there are other
manufacturers of CRTs besides the defendants in this
case?

A. Yes.

MR. GRALEWSKI: Object to the form. Asked and
answered.

MS. CHIU: Q. So it's possible that a
non-defendant manufactured the CRT that you believe is
contained in your Toshiba television?

MR. GRALEWSKI: Object to the form. Calls for
speculation.

THE WITNESS: I do not know. I mean, |
possible, but I do not know.

MS. CHIU: Q. So it is possible?

MR. GRALEWSKI: Object to the form. Calls for
speculation, asked and answered.

THE WITNESS: I do not know.

MS. CHIU: Q. Just to clarify, you're not

aware of who manufactured the CRT you believe is inside

the Toshiba television?

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A. I do not.

Q. Do you know who manufactured the Toshiba
television?

A. I do not know.

Q. Do you know how much the television

manufacturer paid for the CRT you believe is inside of
it?
A. I do not.
Q. Do you know where the manufacturer purchased
the CRT you believe is inside of it?
A. I do not.
(Exhibit 74 marked)
MS. CHIU: Q. So the court reporter has just
handed you a document that is marked as Exhibit No. 74.
Do you recognize this document?
A. I do.
Q.° And I'll just state for the record that this
document is Bates-labeled CRT000244 to 246.

Mr. Ganz, could you please identify this

document.

A. These are photos I took of the TV in my
bedroom.

Q. When you say "the TV," you mean the Toshiba
television?

A. The Toshiba television, yes.

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guilty to fixing prices, and Chunghwa has admitted to
doing so.

MS.. CHIU: Mr. Ganz, you --

MR. GRALEWSKI: Counsel, before you proceed, I
want to withdraw my objections. I understand that you
were asking about the Philips television first, and now
you're asking about the Toshiba, so I apologize and
withdraw my asked-and-answered objections.

MS. CHIU: ©. So Mr. Ganz, with respect to
the Toshiba television you purchased, you are not aware
whether Samsung manufactured the CRT that you believe is
inside the Toshiba television?

MR. GRALEWSKI: Object to the form. Asked and
answered.

THE WITNESS: I do not know the manufacturer
of the CRT.

MS. CHIU: ©. So you also don't know if
Chunghwa manufactured the CRT in the Toshiba TV?

MR. GRALEWSKI: Same objection.

THE WITNESS: Correct.

MS. CHIU: ©. Do you know what -- what do you

believe the Toshiba television should have cost?

A. I do not have a fixed price.
Q. I'm sorry?
A. I do not have a price. I do not know.

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